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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-08-085-RHW-7
                        Plaintiff,              )
 9                                              )    ORDER ON PLEA, GRANTING
      v.                                        )    DEFENDANT’S UNOPPOSED MOTION
10                                              )    TO RECONSIDER AND SETTING
      CAROL SOLOMON,                            )    CONDITIONS OF RELEASE
11                                              )
                        Defendant.              )
12                                              )

13         At Defendant's August 5, 2008, arraignment on Superseding

14   Indictment, and hearing on the Defendant’s Motion to Reconsider (Ct.

15   Rec. 118), the United States was represented by Assistant U.S.

16   Attorney Aine Ahmed; the Defendant was present with counsel Donald

17   Kellman.    The Defendant entered pleas of not guilty to all counts.

18         IT IS ORDERED that the pleas of Defendant are received, and the

19   Defendant is bound over for trial before a district judge.

20         IT IS FURTHER ORDERED that the Defendant’s unopposed Motion to

21   Reconsider (Ct. Rec. 118) is GRANTED.             Defendant shall be released

22   on the following conditions:

23         1.    Defendant shall participate in an intensive inpatient

24   treatment program beginning August 6, 2008.                    Defendant will be

25   released to an agent of the outpatient program on August 6, 2008.

26   Defendant shall comply with all of the rules of the treatment

27   program.    If Defendant fails in any way to comply or cooperate with

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 1   the requirements and rules of the treatment program, Pretrial
 2   Services shall notify the court and the U.S. Marshal, who will be
 3   directed to immediately arrest the Defendant. Defendant shall be
 4   responsible for the cost of the treatment.                   Full mutual releases
 5   shall    be    executed    to   permit   communication        between    the   court,
 6   Pretrial Services, and the treatment vendor.                  Treatment shall not
 7   interfere with Defendant’s court appearances.                 Following inpatient
 8   treatment, Defendant shall participate in an aftercare program.                    If
 9   random urinalysis testing is not done through the treatment program,
10   random       urinalysis    testing   shall    be    conducted    through    Pretrial
11   Services, but shall not exceed six (6) times per month.
12           2.     Prior to release from inpatient treatment, an outpatient
13   treatment program must be presented to the court. If Defendant does
14   not have a structured outpatient treatment program in place prior to
15   conclusion of her inpatient treatment, she automatically will go
16   back into the custody of the U.S. Marshal.
17           3.     Defendant shall not commit any offense in violation of
18   federal, state or local law. Defendant shall advise her supervising
19   Pretrial Services Officer and her attorney within one business day
20   of any charge, arrest, or contact with law enforcement.
21           4.     Defendant shall advise the court and the United States
22   Attorney in writing before any change in address.
23           5.     Defendant shall appear at all proceedings and surrender as
24   directed for service of any sentence imposed.
25           6.     Defendant shall sign and complete form A.O. 199C before
26   being released and shall reside at the address furnished.
27           7.     Defendant    shall    remain    in    the    Eastern     District   of
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 1   Washington while the case is pending.             On a showing of necessity,
 2   Defendant may obtain prior written permission to leave this area
 3   from the United States Probation Office.
 4         8.     Defendant shall not possess a firearm, destructive device
 5   or other dangerous weapon.
 6         9.     Defendant is further advised, pursuant to 18 U.S.C. §
 7   922(n), it is unlawful for any person who is under indictment for a
 8   crime punishable by imprisonment for a term exceeding one year, to
 9   possess, ship or transport in interstate or foreign commerce any
10   firearm or ammunition or receive any firearm or ammunition which has
11   been shipped or transported in interstate or foreign commerce.
12         10.    Defendant shall refrain from the use of alcohol, and the
13   use or possession of a narcotic drug and other controlled substances
14   defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
15   practitioner.
16         11.    Defendant shall report to the United States Probation
17   Office before or immediately after her release and shall report as
18   often as they direct, at such times and in such manner as they
19   direct.     Defendant shall contact her attorney at least once a week.
20         12.    Defendant shall have no contact, direct or indirect, with
21   Co-Defendant Marc George.
22         Defendant is advised a violation of any of the foregoing
23   conditions of release may result in the immediate issuance of an
24   arrest warrant, revocation of release and prosecution for contempt
25   of court, which could result in imprisonment, a fine, or both.
26   Specifically, Defendant is advised a separate offense is established
27   by the knowing failure to appear and an additional sentence may be
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 1   imposed for the commission of a crime while on this release.                      In
 2   this    regard,   any      sentence     imposed    for     these   violations     is
 3   consecutive to any other sentence imposed.
 4          DATED August 5, 2008.
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 6                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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